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              In the United States District Court
                 Western District of Michigan
UNITED STATES OF AMERICA,               Crim. No. 20-183-2

      Plaintiﬀ,                         HON. ROBERT J. JONKER
v.

BARRY GORDON CROFT, JR.,

      Defendant.


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      Movant BuzzFeed, Inc., respectfully moves the Court for an order granting access

to the exhibits admitted into evidence at the detention hearing held on January 13, 2021.

                                         Respectfully submitted,

                                         BUTZEL LONG, P.C.

Dated: May 20, 2021                      JOSEPH E. RICHOTTE P70902
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